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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
                                                     :
        v.                                           :      Case No.: 21-mj-237
                                                     :
                                                     :
JOSEPH W. FISCHER,                                   :
                                                     :
             Defendant.                              :

                 NOTICE OF FILING DISCOVERY CORRESPONDENCE

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, hereby files its March 11, 2021 discovery letter in this case, which was

served as an attachment via ECF on counsel for the defendant.

                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             ACTING UNITED STATES ATTORNEY
                                             D.C. Bar No. 415793


                                     By:     __/s/ Alexis J. Loeb____________________
                                             Alexis J. Loeb
                                             California Bar No. 269895
                                             Assistant United States Attorney
                                             Detailee
                                             U.S. Attorney’s Office for the District of Columbia
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                                             Washington, DC 20001
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                                CERTIFICATE OF SERVICE

       On this 11 th day of March, 2021, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.

                                              __/s/ Alexis J. Loeb_________________
                                              Alexis J. Loeb
                                              Assistant United States Attorney
                                              Detailee
